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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                            )       Case No. 18-66766
                                                   )
 BEAUTIFUL BROWS LLC,                              )       Chapter 11
                                                   )
            Debtor.                                )


                            MONTHLY OPERATING REPORT

       COME NOW, the above captioned debtor and debtor-in-possession (the “Debtor”) and

hereby files this monthly operating report for the period October 3, 2018 – October 31, 2018.

                                            JASON L. PETTIE, P.C.

                                             /s/ Jason L. Pettie
                                            Jason L. Pettie, Attorney for Debtor
                                            Georgia Bar # 574783
                                            P.O. Box 17936
                                            Atlanta, Georgia 30316
                                            (404) 638-5984
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